






Opinion issued July 17, 2003 













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00128-CR

____________


BRYAN FRED WOODSON, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 180th District Court

Harris County, Texas

Trial Court Cause No. 919122






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue the mandate immediately.  Tex.
R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Taft, Jennings, and Hanks.

Do not publish.  Tex. R. App. P. 47.2(b).


